
8 N.Y.2d 773 (1960)
Admiral Corporation, Respondent,
v.
Reines Distributors, Inc., Appellant.
Admiral Credit Corporation, Respondent,
v.
Reines Distributors, Inc., Appellant.
Court of Appeals of the State of New York.
Argued March 28, 1960.
Decided April 28, 1960.
Berthold H. Hoeniger, Stanley R. Bookstein and Malcolm A. Hoffmann for appellant.
Laurence F. Sovik for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS and BURKE. Taking no part: Judge FOSTER.
In each action: Order affirmed, with costs. Question certified answered in the negative. No opinion.
